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 1         IN THE UNITED STATES DISTRICT COURT                                 1         A P P E A RA N C E S (CONTINUED)
            FOR THE WESTERN DISTRICT OF TEXAS
 2              SAN ANTONIO DIVISION                                           2       PATRICK BERRY (via videoconference)
                                                                                       Voting Rig_hts & Elections
 3 LA UNION DEL PUEBLO        §                                                3       Brennan Center for Justice
   ENTERO, ET AL.,       §                                                             NYU School of Law
 4      Plaintiffs,  § Civil Action No.                                        4       120 Broadw1;1y, Suite 1750
                    § 5:21-cv-844 (XR)                                                 New York,.., NY .L0271
 5 VS.               § (Consolidated Cases)                                    5       (646) 92::,-8754
                        §                                                              patrick.berry@nyu.edu
 6 STATE OF TEXAS, ET AL., §                                                   6
        Defendants.      §
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                VOLUME 2 OF 2 VOLUMES                                                wendy.olson@stoel.com
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15 OF STATE OFFICE, produced as a witness at the instance                     15     Washington,.., uC 2u006
                                                                                     (800) 433-::,255
16 of the Mi Familia Vota Plaintiffs, and duly sworn, was                     16
1 7 taken in the above-styled and numbered cause on the 6th                   1 7 COUNSEL FOR PLAINTIFFS TEXAS STATE LULAC AND VOTO
                                                                                  LATINO:
18 day of May 2022, from 9:01 a.m. to 12:58 p.m., before                      18       MIKE JONES (via videoconference)
                                                                                       ELIAS LAW GROUP, LLP
19 Caroline Chapman, CSR in and for the State of Texas,                       19       10 G Street NE.._ Suite 600
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2 o reported by Computerized Stenotype Machine,                               20       (202) 985-1752, Extension 1016
                                                                                       mjones@elias.law
21 Computer-Assisted Transcription, held at the Price                         21
22 Daniel Sr State Office Building, 209 West 14th Street,                     22
23 Austin, Texas, and via web-based conference pursuant to                    23
24 the Federal Rules of Civil Procedure.                                      24
25                                                                            25
                                                                   Page 225                                                               Page 227
 1              APPEARANCES                                                    1        A P P EAR A N C E S (CONTINUED)
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 1          A P P E A RA N C E S (CONTINUED)                            1        A P P EAR A N C E S (CONTINUED)
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        Austin, TX 78711-2548
22      kathleen.hunker@oag.texas.gov                                  22
23      - and -                                                        23
24                                                                     24
25                                                                     25
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 2      ADAM BITTER                                                     2 Appearances                              225
        General Counsel
 3      Office of the Secretary of State                                3 BRIAN KEITH INGRAM,..J.D._,, CORPORATE REPRESENTATIVE
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 4      P.O. Box 12697                                                  4
        Austin TX 78711-2697                                                                                PAGE
 5      (512) 475-2813 Fax (512) 475-2761                               5 Examination by Ms. Olson •                     234
        abitter@sos.texas.gov                                             Examination by Ms. Hunker                       362
 6                                                                      6 Examination bY, Ms. Olson •                    370
   COUNSEL FOR THE STATE OF TEXAS ATTORNEY GENERAL'S                      Signature and Changes     •              .   377
 7 OFFICE:                                                              7 Reporter's Certificate                   379
        ZACHARY LOUIS RHINES
 8      Assistant General Counsel                                       8
        Attorney General of Texas                                                       EXHIBITS
 9      Office of Special Litigation                                    9
        P.O. Box l2548 (MC009)                                            NO. DESCRIPTION                              PAGE
10      Austin TX 78711-2548                                           10 Exhibit 1    Senate Bill 1                 241
        (512) 936-2567 Fax: (512) 457-4410                                Exhibit 2    Texas Secretary of State, Witnesses, 244
11      zachary.rhines@oag.texas.gov                                   11           Assistants, and Agent~ Lena Proft,
                                                                                    Staff Amorney, Texas ecretar:y of
12      J. AARON BARNES                                                12           Stateb E ections Divisio~ Webinarb
        Special Counsel                                                             State 807078 }hrouRh tate0871 4
13      Special Litigation Unit                                        13 Exhibit 3    De~osition o Keit Ingram dated       249
        P.O. Box 12548                                                              April 6, 2022
14      Austin TX 78711-2548                                           14 Exhibit 4    Email chain to Justin Williamson    252
        (512) 936-2021 Fax (512) 457-4410                                           from Keith Ingram cc Adam Bitter
15      aaron.barnes@oag.texas.gov                                     15           dated AP.ril 7, 2022, Canvassed
                                                                                    totals with attachment
16 COUNSEL FOR DEFENDANT YVONNE RAMON HIDALGO COUNTY                   16 Exhibit 5    Email chain from StEfchen Chan~       261
                                                                                    dated November 9, 20 0, State08 430
1 7 ELECTIONS ADMINISTRATORS:                                          17           through State087432
         LEIGH ANN LEAVELL TOGNETTI                                       Exhibit 6    Email chain from StEfchen Chang       266
18       (via videoconference)                                         18           dated November 9, 20 0, Subtct:
         fiidalgo County District Attorney's Office                                 Re: For Review: November 3r
19       100 East Can~ Courthouse Annex III, 1st Floor                 19           General Election Thank You Video
         Edinburg TX 18539                                                          Scrip~ State087417 through
20       (956) 292-7609 Extension 8182                                 20           State 87419
         reigh.tognetti@da.co.hidalgo.tx.us                               Exhibit 7    Email chain from Ruth Huahs dated     269
21                                                                     21           November 24, 2020 State0 7637
                                                                                    through State087639
22                                                                     22 Exhibit 8    Email to Stephen Chang from          274
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23                                                                     23           2020, State087640 through
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24                                                                     24 Exhibit 9    Email Chain from Steghen Chan~        281
                                                                                    dated March 15, 2021, tate0501
25                                                                     25

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                                                              Page 232                                                                 Page 234
 1            E X H I B I T S (CONTINUED)                                 1             BRIAN KEITH INGRAM, J.D.
 2                                                                        2 having been first duly sworn, testified as follows:
   ~~igf1~RIPJJ,~~ t~.Bill Vourvoulias from PAG~93
 3           ~b~he~ c,o,'7%~8_ted April 29,                               3                EXAMINATION
 4 Exhibit 11   J;rfi~/%  uth i~ug~Mrom Teresa   297                      4 BY MS. OLSON:
 5            ~~atii~Bo~  Apri l,   l,                                    5    Q. Good morning, Mr. Ingram.
 6 Exhibit 12RuMnii?r ~o~  a~f:a  o~~r5~'29of :rJ~b: 302
             State06 s: 1 throl§_h tate062522
                                                                          6    A. Howdy.
 7 Exhibit 13   Emai C <Ji.n t3 JaeP.~en Chan~..,from  308                7    Q. We introduced ourselves off the record. But
 0            §~~t~m.i'J§o  am~~ou aRm~e~r.9~1f'2.1'
   Exhibit 14 Em~/ to A am ~t~e.r ~~ uth Hyghs_ 316
                                                                          8 just since we are on the record, I will go ahead and do

 9           0fted i'1es1tem %   \cfo2ij," tate02010B                     9 that again.

10 Exhibit 1st r~'rWan 1~1Tn ~   1RuJh Huphs 5ro:ri   323                10             My name is Wendy Olson. I am one the
11           ~rnr:os11 5gnaira8u~h  tfl~e6S1  Ps1'
   Exhibit 16 Email hain to B"eva Kellison dated 334
                                                                         11 attorneys representing Mi Familia Vota Plaintiffs. I am
                                                                         12 here on behalf of the consolidate private plaintiffs.
    Exhibit 1leb[~8atJ ~~3~~'jJme~;g~~6 ?rom
12
                                                        345
                                                                         13 With me is Elijah Watkins who is also with the law firm
13
14 Exhibit 18
              s~~FJio59i~r m~5u    A~Ps6te0 868j
                 Emar~ ain to J% n Sc_oij rom          347               14 of Stoel and also representing Mi Familia Vota

15 Exhibit 19
16

1 7 Exhibit 20
              ~B
              Staho
                   1'fJg
              Mr~itter on Decem er 20t of 2021
                  o i.de.ntial Eroai to Hei i Martinez 359
                  C 1stm~67dkigs dated une 30,
                             747 through
                                     t,
                 ETec;tion ode. Title.   Conduct      364
                                                                         15 Plaintiffs.
                                                                         16
                                                                         17
                                                                                      Would the others in the room please
                                                                            introduce themselves?
18            e~0h~at./,~g~ed~P:ter 6 '                                  18           MS. HUNKER: My name is Kathleen Hunker.
              Subcrrapter A, Voting Generally
19                                                                       19 I am with the Texas Attorney General's Office
20                                                                       20 representing the State Defendants, along here with me is
21                                                                       21 my colleague Aaron Barnes.
22                                                                       22           MR. BITTER: Adam Bitter, General Counsel
23                                                                       23 for the Texas Secretary of State.
24                                                                       24           MR. RHINES: Zach Rhines, Assistant
25                                                                       25 General Counsel for the Texas Secretary of State.
                                                              Page 233                                                                 Page 235
 1             E X H I B IT S {CONTINUED)                                 1            MS. OLSON: I know we have several people
 2        E   Rlf~YJfJUSLY MARKED EXHIBITSPAG                             2 who are on by Zoom, I am not going to ask you to

 3   ~~i~t I~~ rc1~~oi1~ted ~l~,ntiff~' Third          ~7                 3 introduce yourselves. But if for some reason you can't
 4              m_:•~E,! 6q'texas
                Wice ci~
                         5   05eo o~ffloi of the.
                                   ~ecretary ot
                                                                          4 see, will you please let us know. And I would say, to
 5
                                                                          5 let us know if you can't hear. But if you can't hear,
   Exhibit 22!taf~x~s Secreta~of State John B.            260
 6            cott'- ews Relea : serr.etarv                               6 you can't hear me right now, so please you can send an

 7            (~Wohwing?JlWt~~el!fJ
              1ect1on
                                          Gg~fr-\1                        7 email or enter something into the Chat to let us know if
 8
                                                                          8 there becomes an issue with the sound.
 9                                                                        9            Mr. Ingram, if my math is correct, this
10                                                                       10 will be the third time you have been deposed in the last
11                                                                       11 ten days; is that right?
12                                                                       12    A. Actually, it is the fourth.
13                                                                       13    Q. The third time in this case; is that right?
14                                                                       14    A. The third time in this case, yes.
15                                                                       15    Q. And in connection with the time you were
16                                                                       16 deposed on April the 26th of 2022, you were provided
17                                                                       11 some ground rules with respect to this case in your role
18                                                                       10 here as the designee for the 30(b)(6) -- Rule 30(b)(6)
19                                                                       19 deposition of the Secretary of State's Office; is that
20                                                                       20 correct?
21                                                                       21    A. That's correct.
22                                                                       22    Q. And you're familiar with those general ground
23                                                                       23 rules, if not before, certainly by what you have learned
24                                                                       24 in the last ten days; is that right?
25                                                                       25    A. That's right.

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 1     Q.   And so I am not going to go over all of them,                    1 advance of your deposition last Tuesday; is that right?
 2   but just to make sure since I didn't take either -- any                 2   A. That's right.
 3   of those other three depositions. If at any time during                 3      Q.   Did you review it again in advance of your
 4   the deposition my questions are unclear, or if you would                4   deposition today?
 5   like me to restate or repeat anything, please stop me                   5     A.    I did.
 6   and I will be happy to do so. Does that make sense?                     6      Q.   Okay. And at the bottom of the first page and
 7     A. It does.                                                           7   the top of the second page, it says that, the Secretary
 8   Q. And then, sir, if you provide an answer to a                         8   of State's Office shall designate one or more persons to
 9 question, we will assume that you understood my question                  9   testify on its behalf; is that right?
10 and, therefore, that's among the reasons it is really                    10      A. That's right.
11 important to let me know it is unclear. Is that okay?                    11     Q. And you understand that you're here today to
12     A.   Sure.                                                           12 testify on behalf of the Secretary of State's Office as
13            THE REPORTER: Someone online is not on                        13 its designee?
14   mute. Thank you.                                                       14    A. I understand that.
15     Q.   And we discussed off the record that we have                    15     Q. And you understand that this is a continuation
16  two hours and 50 minutes left in this Rule 30(b)(6)                     16 of the deposition that began on April 26th of 2022, and
1 7 deposition, and our plan going in is to take a break,                   11 the purpose of today's session is to complete or cover
18   one break halfway through. Will that work for you?                     10 additional topics that were not covered to give you
19     A. That will work.                                                   19 additional time to prepare. Do understand that, sir?
20     Q.   If anyone needs a break for some other reason,                  20    A. I do.
21   otherwise we will go ahead and do that, but that will be               21      Q.   Mr. Ingram, what did you do to prepare to
22 the game plan going in. And of course, my only request                   22 testify today beyond what you have previously testified
23 is that, before we take a break, if a question is                        23 you did to prepare?
24 pending that you answer it before we step away.                          24     A.    Sure. I spoke with the Communications Director
25   A. Sure.                                                               25   for our office, the Assistant Secretary of State for
                                                                 Page 237                                                                  Page 239
 1    Q. And as you know you have, again, taken an oath                      1 Communications, Sam Taylor, talked to him for 45 minutes
 2 to be truthful and that means you're supposed to                          2   to an hour to talk about our public education campaign,
 3 truthfully answer the questions that I ask you to the                     3   phase one before the primary and phase two that we are
 4 best of your recollection. Is that your understanding                     4   planning before the general election.
 5 of the oath that you just took?                                           5             I spoke with a lawyer named Jackie who is
 6     A.   Absolutely.                                                      6   part of our Forensic Audit Division to get the
 7     Q. And is there any reason you can think of why                       7   communications that they have had with the counties, at
  8 you may not be able to answer my questions truthfully                    8   least a general sense of what they have talked to the
  9 today?                                                                   9   four counties about that are being audited.
10     A. No.                                                               10             My lawyer pulled a few emails that I had
11     Q. Anything that might impair your memory?                           11   with those four counties regarding the audit back in
12     A. No.                                                               12   December.
13            (Exhibit No. 18 previously marked.)                           13             I met with my attorneys, Kathleen Hunker
14     Q. All right. And -- of course my --                                 14   and Aaron for a couple of hours. I reviewed our
15            So I am going to show you, again, what was                    15   advisories, our Office's advisories regarding SB 1,
16 marked as our previous deposition last Tuesday as                        16 voting by mail, and the poll watchers, and spent maybe
1 7 Exhibit 18 in that deposition. And do you recognize                     17   an hour or two hours doing that.
10 that as the Consolidated Plaintiff's Third Amended Cross                 10             And then I reviewed a document regarding
19 Notice of its Rule 30(b)(6) Deposition for the Office of                 19   the HB 2512 matching procedure and spoke briefly with my
20 the Secretary State?                                                     20   voter registration manager about that document and
21     A. I do.                                                             21   what -- how we varied from it for the most recent 2512
22     Q. And you understand that that's the governing                      22   process. I think that's it.
23 document for this deposition as well?                                    23     Q.    All right. And when did you meet with those
24     A. I do.                                                             24   individuals, was it all in one day?
25     Q. And you have had a chance to review it in                         25     A.    No. No, it was all of this last week.

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                                                                 Page 276                                                                  Page 278
 1     A.   I do not.                                                        1 voting? Does the Secretary of State's Office track in
 2     Q.      Mr. Ingram, does the Secretary of State's                     2   any way whether a voter used straight-ticket voting?
 3   Office in any way, from January 1st of 2018, has it in                  3     A. No.
 4   any way tracked, including information about demographic                4    Q. How about vote by mail? Does the Secretary of
 5   or political breakdown of users in Texas, the following                 5 State's Office track voters who use vote by mail?

 6   forms of voting: How about drive-thru voting? Does the                  6   A. I am trying to remember. I think it was 2015,
 7   Secretary of State's Office track that in any way?                      7 they passed a law that said the vote by mail had to be
 8     A.   No.                                                              8 broken out in vote history, so we have tracked it since
 9     Q.      Has it received any information from Harris                   9 then.
10   County regarding drive-thru voting?                                    10     Q.    Is that, for example, how we were able to
11     A.Harris County testified in open committee on                       11 gather some of the data that was in the earlier exhibit
12 these bills, I am familiar with that testimony.                          12   that we looked at?
13     Q.      Has the Secretary of State's Office directly                 13     A. In addition to that law there was the
14   communicated with Harris County regarding drive-thru                   14   requirement that there be a ballot tracker and that
15   voting?                                                                15   requires additional ballot by mail information be
16     A.   No.                                                             16   entered into the TEAM system by the counties.
17     Q.      Does the Secretary of State's Office have --                 17    Q. And is there any demographic information that's
18     A.   With regard to the users thereof.                               18 a part of that, for example, gender, race, ethnicity?
19     Q.   Thank you, sir.                                                 19    A. No.
20               I was actually going to ask you a                          20     Q.    Does the Secretary of State's Office in any way
21   follow-up question because I saw your hand gesture                     21   track voters who use curbside voting?
22 there. Is that all that you wanted to add to that?                       22     A.    No.
23     A.   Right. You were asking in the context of who                    23    Q. Does the Secretary of State's Office in any way
24   used it, we have not discussed that.                                   24 track whether the voters use an assistant in voting?
25     Q.      Okay. And do you know whether either your                    25    A. No.
                                                                 Page 277                                                                  Page 279
 1   office or Harris County tracked who used drive-thru                     1     Q.    Why not?
 2   voting in any way?                                                      2     A.    Why not?
 3     A. I don't know. I -- you would have to talk to                       3     Q.    Yeah. Why don't they track voting assistants?
 4   Harris County about what they did to produce the numbers                4     A.    There is not a requirement to track it.
 5   that -- that they gave to the committee.                                5     Q.    Does the Secretary of State only track the
 6     Q. Okay. You did not get that information in the                      6   information it's required to track by statute or rule?
 7   Secretary of the State's Office, correct?                               7      A. Yes. I mean -- yeah. We have a hard enough
 8     A. That's correct.                                                    8   time keeping up with what we are supposed to keep up
 9     Q.   And the Secretary State's Office doesn't                         9   with.
10   separately track that?                                                 10     Q.    Does the Secretary of State's Office -- is the
11     A. That's right.                                                     11 Secretary of State's Office aware of any counties that
12     Q.      Okay. How about with respect to early voting,                12   track, we discussed drive-thru voting, that track
13   does the Secretary of State's Office track that?                       13   dropbox voting?
14     A. We get the vote history from the counties about                   14     A.    We don't have dropbox voting in Texas. Never
15   who voted and who voted early.                                         15   have, never will, as far as I know. The Legislature
16     Q.   And where is that data maintained?                              16   could surprise me next time.
17     A. It is maintained on our webpage.                                  17    Q. So by "dropboxes," there were places people
18     Q.   And how about with respect to extended-hour                     18 could drop off their ballots; isn't that right?
19   voting? Does the Secretary of State's Office in any way                19    A. We have personal delivery of hand -- of mail
20   track individuals who use extended-hour voting?                        20 ballots, certainly, but we do not have dropbox voting.
21     A.   No, ma'am.                                                      21    Q. All right. Does the Secretary of State's
22     Q.   Including 24-hour voting, is that correct? I'm                  22 Office track the personal delivery of mail ballots?
23   sorry, you don't track that either?                                    23    A. We do not.
24     A. That's correct.                                                   24    Q. Are you aware of whether any counties track
25     Q.      How about with respect to straight-ticket                    25 that?

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